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JOHN A. BERG, OSB# 120018
jberg@littler.com
PAUL E. CIRNER, OSB# 191471
pcirner@littler.com
LITTLER MENDELSON P.C.
1300 SW Fifth Avenue
Wells Fargo Tower, Suite 2050
Portland, OR 97201
Telephone: (503) 221-0309
Facsimile: (503) 242-2457

DANIEL PRINCE, Cal. SB# 237112 (pro hac vice)
danielprince@paulhastings.com
FELICIA A. DAVIS, Cal. SB# 266523 (pro hac vice)
feliciadavis@paulhastings.com
LINDSEY C. JACKSON, Cal SB# 313396 (pro hac vice)
lindseyjackson@paulhastings.com
ALYSSA K. TAPPER, Cal. SB# 324303 (pro hac vice)
alyssatapper@paulhastings.com
PAUL HASTINGS LLP
515 South Flower Street, 25th Floor
Los Angeles, CA 90071
Tel: (213) 683-6000
Fax: (213) 627-0705

Attorneys for Defendant NIKE, INC.


                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION


 KELLY CAHILL, SARA JOHNSTON,                  Case No.: 3:18-cv-01477-AB
 LINDSAY ELIZABETH, and HEATHER
 HENDER, individually and on behalf of
 others similarly situated,                    NIKE, INC.’S UNOPPOSED MOTION
                                               TO DISMISS NIKE’S MOTION FOR
                            Plaintiffs,        ATTORNEYS’ FEES [ECF NO. 567]

       v.

 NIKE, INC., an Oregon Corporation,

                            Defendant.
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                                   L.R. 7-1 CERTIFICATION


         Counsel for Defendant NIKE, Inc. (“NIKE”) certifies that it made a good faith effort to

confer with counsel for Markowitz Herbold PC (“Markowitz”) regarding the issues presented in

this Motion. Markowitz does not object to relief requested in this Motion.

           MOTION TO DISMISS NIKE’S MOTION FOR ATTORNEYS’ FEES


         Pursuant to this Court’s May 21, 2025 order at ECF No. 638 and L.R. 41-1(c), NIKE

submits this motion to dismiss its Motion for Attorneys’ Fees at ECF No. 567, with prejudice

and without costs or attorneys’ fees.



   Dated: May 27, 2025                        s/ Daniel Prince
                                            Daniel Prince, Cal. SB# 237112 (pro hac vice)
                                            danielprince@paulhastings.com
                                            Felicia A. Davis, Cal. SB# 266523 (pro hac vice)
                                            feliciadavis@paulhastings.com
                                            Lindsey C. Jackson, Cal. SB# 313396 (pro hac vice)
                                            lindseyjackson@paulhastings.com
                                            Alyssa K. Tapper, Cal. SB# 324303 (pro hac vice)
                                            alyssatapper@paulhastings.com
                                            PAUL HASTINGS LLP
                                            515 South Flower Street, Twenty-Fifth Floor
                                            Los Angeles, CA 90071-2228
                                            Tel: (213) 683-6000
                                            Fax: (213) 627-0705

                                            JOHN A. BERG, OSB# 120018
                                            jberg@littler.com
                                            PAUL E. CIRNER, OSB# 191471
                                            pcirner@littler.com
                                            LITTLER MENDELSON P.C.
                                            1300 SW Fifth Avenue
                                            Wells Fargo Tower, Suite 2050
                                            Portland, OR 97201
                                            Telephone: (503) 221-0309
                                            Facsimile: (503) 242-2457

                                           Attorneys for Defendant NIKE, Inc.


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